
100 N.Y.2d 605 (2003)
PAUL A. KROHN, Respondent-Appellant, and ALLI KATT, Respondent,
v.
NEW YORK CITY POLICE DEPARTMENT et al., Appellants-Respondents.
Court of Appeals of the State of New York.
Decided September 16, 2003.
Concur: Chief Judge KAYE and Judges SMITH, CIPARICK, ROSENBLATT, GRAFFEO and READ.
Certification of question by the United States Court of Appeals for the Second Circuit, pursuant to section 500.17 of the *606 Rules of the Court of Appeals (22 NYCRR 500.17), accepted and the issues presented are to be considered after briefing and argument.
